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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF VIRGINIA
                                      Alexandria Division

  TECSEC, INC.,                                   )
                                                  )
                 Plaintiff,                       )
                                                    Case No. 1:10-cv-115-LO/TCB
                                                  )
  v.                                              )
                                                  )
  ADOBE INC., et al.,                             )
                                                  )
                 Defendants.                      )
                                                  )

                       STIPULATION OF UNCONTROVERTED FACTS

         Pursuant to the Court’s order from the bench during the December 7, 2018 hearing (Dkt.

  1321 at 22:7-19), and further pursuant to the Joint Stipulation Dismissing Certain Claims (Dkt.

  1320), Plaintiff TecSec, Inc. (“TecSec”) and Defendant Adobe Inc. (“Adobe”), by counsel,

  hereby jointly submit a clean stipulation of controverted facts. This clean set replaces the former

  version (Dkt. 1303) by: (1) removing Adobe’s controverted facts—Nos. 24-42—that the Court

  has indicated it will not force the parties to include, and (2) removing reference to the asserted

  patent claims that have been jointly dismissed by the parties.

         1.      TecSec is a corporation organized and existing under the laws of the

  Commonwealth of Virginia, with its principal place of business at 1048 Dead Run Drive,

  McLean, Virginia.

         2.      Adobe is a corporation organized and existing under the laws of the State of

  Delaware, with its principal place of business at 345 Park Avenue, San Jose, California.

         3.      TecSec filed the Complaint in this suit on February 5, 2010. Adobe was named as

  a defendant.
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         4.      The patents asserted in this case are U.S. Patent Nos. 5,369,702, 5,680,452,

  5,717,755, and 5,898,781 (the “asserted patents”).

         5.      U.S. Patent No. 5,369,702 (“the ’702 Patent”) is titled “Distributed Cryptographic

  Object Method,” and was issued on November 29, 1994 and expired on October 18, 2013.

         6.      U.S. Patent No. 5,680,452 (“the ’452 Patent”) is titled “Distributed Cryptographic

  Object Method,” and was issued on October 21, 1997 and expired on October 18, 2013.

         7.      U.S. Patent No. 5,717,755 (“the ’755 Patent”) is titled “Distributed Cryptographic

  Object Method,” and was issued on February 10, 1998 and expired on October 18, 2013.

         8.      U.S. Patent No. 5,898,781 (“the ’781 Patent”) is titled “Distributed Cryptographic

  Object Method,” and was issued on April 27, 1999 and expired on October 18, 2013.

         9.      The asserted claims are: claims 1 and 8 of the ’702 Patent; claim 1 of the ’452

  Patent; claim 1 of the ’755 Patent, and claims 1 and 14 of the ’781 Patent.

         10.     Claim 1 of the ’702 Patent, claim 1 of the ‘452 Patent, claim 1 of the ’755 Patent,

  and claim 1 of the ’781 are method claims.

         11.     Claim 8 of the ’702 Patent and claim 14 of the ’781 Patent are system claims.

         12.     The Adobe products that TecSec contends infringe the asserted claims are

  Acrobat Standard and Pro Software Versions 5.x, 6.x, 7.x, 8.x, 9.x, 10.x, and 11.x (collectively

  the “accused Acrobat versions”), and other Adobe products or packages that include or are

  bundled with the accused Acrobat versions.

         13.     On at least one occasion, Adobe has installed for its own internal use at least one

  copy of each version of the accused products on a computer having system memory.

         14.     Adobe does not dispute that when the accused Adobe Acrobat software (i.e., the

  accused Acrobat versions) was manipulated to create an encrypted first PDF file, attach the




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  encrypted first PDF file to a second PDF file, encrypt the second PDF file, and decrypt the

  encrypted first PDF file, there was direct infringement of the asserted claims by the user. Adobe

  does not dispute that this occurred on at least one occasion, by Adobe itself.

         15.     TecSec did not sell or offer for sale any PDF file creation products that competed

  with Acrobat Standard and Pro Software Versions 5.x, 6.x, 7.x, 8.x, 9.x, 10.x, and 11.x at the

  time of the hypothetical negotiation.

         16.     TecSec did not provide Adobe with actual notice of alleged infringement of the

  DCOM patents under Section 287(a), through a letter alleging infringement or otherwise, before

  TecSec filed this lawsuit on February 5, 2010.

         17.     TecSec and Martin Marietta Corporation entered into a License Agreement on

  November 14, 1994.

         18.     TecSec and Sterling Software (North America) Inc. entered into a Purchase and

  License Agreement on December 7, 1995.

         19.     TecSec and Lockheed Martin Corporation entered into a License Agreement on

  March 24, 1997.

         20.     TecSec and The Boeing Company entered into a Strategic Alliance Agreement in

  July 2001.

         21.     TecSec and Protegrity, Inc. entered into an Agreement for Settlement of

  Litigation on November 14, 2001.

         22.     TecSec and Microsoft Corporation entered into a Patent License Agreement on

  March 29, 2004.

         23.     TecSec and Microsoft Corporation entered into a Settlement and License

  Agreement on July 27, 2009.




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  Dated: December 9, 2018                  Respectfully submitted,

  /s/ Michael A. Oakes                      /s/ Maximilian A. Grant
  Michael A. Oakes (VSB #47245)             Maximilian A. Grant (VSB No. 91792)
  Ozzie Farres (pro hac vice)               (max.grant@lw.com)
  Kevin E. Gaunt (pro hac vice)             Tara D. Elliott (admitted pro hac vice)
  Steven L. Wood (pro hac vice)             (tara.elliott@lw.com)
  Brian L. Saunders (pro hac vice)          Michael A. Morin (admitted pro hac vice)
  HUNTON ANDREWS KURTH LLP                  (michael.morin@lw.com)
  2200 Pennsylvania Avenue, N.W.            Rachel Weiner Cohen (admitted pro hac vice)
  Washington, D.C. 20037                    (rachel.cohen@lw.com)
  Telephone: (202) 955-1500                 LATHAM & WATKINS LLP
  Facsimile: (202) 778-2201                 555 Eleventh Street, N.W.
  moakes@huntonak.com                       Suite 1000
  ofarres@huntonak.com                      Washington, DC 20004
  kgaunt@huntonak.com                       Telephone: (202) 637-2200
  swood@huntonak.com                        Facsimile: (202) 637-2201
  bsaunders@huntonak.com
                                            Dale Chang (admitted pro hac vice)
  Service Email: tecsec@huntonak.com        (dale.chang@lw.com)
                                            LATHAM & WATKINS LLP
  Counsel for Plaintiff TecSec, Inc.        330 North Wabash Avenue, Suite 2800
                                            Chicago, IL 60611
                                            Telephone: (312) 876-7700
                                            Facsimile: (312) 993-9767

                                            Brett M. Sandford (admitted pro hac vice)
                                            (brett.sandford@lw.com)
                                            LATHAM & WATKINS LLP
                                            140 Scott Drive
                                            Menlo Park, CA 94025
                                            Telephone: (650) 328-4600
                                            Facsimile: (650) 463-2600

                                            Michael W. Smith (VSB No. 01125)
                                            (msmith@cblaw.com)
                                            Roman Lifson (VSB No. 43714)
                                            (rlifson@cblaw.com)
                                            CHRISTIAN & BARTON, LLP
                                            909 East Main Street, Suite 1200
                                            Richmond, VA 23219
                                            Telephone: (804) 697-4100
                                            Facsimile: (804) 697-6112

                                            Attorneys for Defendant Adobe Inc.




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                                 CERTIFICATE OF SERVICE

           I hereby certify that on this 9th day of December, 2018, a true and correct copy of the
  foregoing was served using the Court’s CM/ECF system, with electronic notification of such
  filing to all counsel of record.

                                                     /s/ Michael A. Oakes
                                                     Michael A. Oakes (VSB #47245)
                                                     HUNTON ANDREWS KURTH LLP
                                                     2200 Pennsylvania Avenue, N.W.
                                                     Washington, D.C. 20037
                                                     Telephone: (202) 955-1500
                                                     Facsimile: (202) 778-2201
                                                     moakes@huntonak.com

                                                     Counsel for Plaintiff TecSec, Inc.




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